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                      UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION
                                    :
In re:                              :
                                    :
    John Dewilder Gibson            :  Case No.: 19-90311
                                    :  Chapter 7
       Debtor.                      :  Judge Mary P. Gorman
                                    :  *********************
                                    :

      MOTION FOR RELIEF FROM THE AUTOMATIC STAY (FIRST MORTGAGE)

         Nationstar Mortgage LLC d/b/a Mr. Cooper ("Creditor"), hereby moves the Court

("Motion"), pursuant to 11 U.S.C. § 362(d) to lift the automatic stay as to real property

commonly referred to as 404 N 21st St, Mattoon, IL 61938 ("Property"). In support of the

Motion, the Movant states the following:

1.       The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334. This is a

         core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion are

         proper under 28 U.S.C. § 1408 and 1409.

2.       John Dewilder Gibson (''Debtor'') filed a Chapter 7 case on April 4, 2019, ("Petition

         Date").

3.       As of the Petition Date, the Movant was the holder of a claim secured by the Property,

         more particularly described in the mortgage ("Mortgage"), a copy of which is attached as

         Exhibit "A".

4.       The above described Mortgage was given to secure a promissory note, ("Note"), dated

         March 14, 2006 and made payable to the Movant in the original sum of $85,000.00. A

         copy of the Note is attached hereto as Exhibit "B".


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5.       The Movant perfected an interest in the Property, more particularly described in the

         Mortgage, recorded in the Coles County Recorder's Office on March 14, 2006. Evidence

         of perfection is attached as Exhibit "A".

6.       The loan was modified as set forth in the Loan Modification Agreement attached as

         Exhibit "C".

7.       Attached are redacted copies of any documents that support the claim, such as promissory

         notes, purchase order, invoices, itemized statements of running accounts, contracts,

         judgments, mortgages, and security agreements in support of right to seek a lift of the

         automatic stay and foreclose if necessary.

8.       As of May 7, 2019, the outstanding principal of the Note was $78,420.54 and the

         outstanding interest was $574.36.

9.       The Property is burdensome and/or of inconsequential value and benefit to the estate.

         Cause exists to lift the automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for

         these reasons:

         a. Debtor has no equity in the Property. Movant believes that the Property has a value

            of $110,000.00 based on the Debtor's Schedule A, which is attached hereto as Exhibit

            "D". Debtor holds a ½ interest in the property, resulting in a total interest in the

            amount of $55,000. The estimated principal balance is $78,420.54 with additional

            interest estimated at $574.36, totaling a secured claim of approximately $81,976.90.

            After the costs of sale and payment of all liens on the Property, there will be

            effectively no equity in this Property. Based upon the lack of equity in the Property,

            Movant asserts that the Property is burdensome and/or of inconsequential value and

            benefit to the estate.

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       b. The Movant is not being adequately protected. Per the Note and Mortgage, payments

           are applied to the last month due. Based on the foregoing, Debtor has failed to make

           periodic payments to Creditor since April 1, 2019 through May 1, 2019.

       WHEREFORE, Creditor prays for an Order Terminating the Automatic Stay of 11 U.S.C.

§ 362 of the Bankruptcy Code as to the Creditor and its principal, successors, heirs and assigns

with respect to the subject property located at 404 N 21st St, Mattoon, IL 61938. Additionally,

Creditor requests the Fed.R.Bankr.P. 4001(a)(3) be waived so that the Order Terminating the

Automatic Stay have immediate effect.

                                                     Respectfully submitted,
                                                     /s/ Umair Malik
                                                     Umair M. Malik (6304888)
                                                     Todd J. Ruchman (6271827)
                                                     Keith Levy (6279243)
                                                     Sarah E. Barngrover (28840-64)
                                                     Adam B. Hall (0088234)
                                                     Edward H. Cahill (0088985)
                                                     Manley Deas Kochalski LLC
                                                     P.O. Box 165028
                                                     Columbus OH 43216-5028
                                                     614-220-5611; Fax: 614-627-8181
                                                     Attorneys for Creditor
                                                     The case attorney for this file is Umair M.
                                                     Malik.
                                                     Contact email is ummalik@manleydeas.com




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from the

Automatic Stay (First Mortgage) was served on the parties listed below via e-mail notification:

   U.S. Trustee, Nancy J. Gargula, Office of the United States Trustee, 401 Main Street, Suite
   1100, Peoria, IL 61602

   Roger L Prillaman, 220 West Main Street, Urbana, IL 61801

   Joseph Scott Pappas, Attorney for John Dewilder Gibson, 622 Jackson Avenue, Charleston,
   IL 61920, jpappas@rsmithlawltd.com

                                                                                    22 2019:
The below listed parties were served via regular U.S. Mail, postage prepaid, on May ___,

   John Dewilder Gibson and Tammie Moss, 404 N 21st St, Mattoon, IL 61938
                                                      /s/ Umair Malik




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       Debtor.                      :  Judge Mary P. Gorman
                                    :  *********************
                                    :

                             SUMMARY OF EXHIBITS

      The following exhibit(s) pertain to the MOTION FOR RELIEF FROM THE
AUTOMATIC STAY (FIRST MORTGAGE) submitted by Nationstar Mortgage LLC d/b/a Mr.
               22 2019:
Cooper on May ___,

   A. Mortgage with assignments

   B. Note

   C. Loan Modification Agreement

   D. Schedule A



                                            Respectfully submitted,
                                              /s/ Umair Malik
                                            Umair M. Malik (6304888)
                                            Todd J. Ruchman (6271827)
                                            Keith Levy (6279243)
                                            Sarah E. Barngrover (28840-64)
                                            Adam B. Hall (0088234)
                                            Edward H. Cahill (0088985)
                                            Manley Deas Kochalski LLC
                                            P.O. Box 165028
                                            Columbus OH 43216-5028
                                            614-220-5611; Fax: 614-627-8181
                                            Attorneys for Creditor
                                            The case attorney for this file is Umair M.
                                            Malik.
                                            Contact email is ummalik@manleydeas.com
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Summary of Exhibits for

Motion for Relief from the Automatic Stay (First Mortgage) was served on the parties listed

below via e-mail notification:

   U.S. Trustee, Nancy J. Gargula, Office of the United States Trustee, 401 Main Street, Suite
   1100, Peoria, IL 61602

   Roger L Prillaman, 220 West Main Street, Urbana, IL 61801

   Joseph Scott Pappas, Attorney for John Dewilder Gibson, 622 Jackson Avenue, Charleston,
   IL 61920, jpappas@rsmithlawltd.com
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   John Dewilder Gibson and Tammie Moss, 404 N 21st St, Mattoon, IL 61938
                                                       /s/ Umair Malik




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